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 G FPD        G Appointed    G CJA        G Pro Per    G✘Retained

                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
                                                                         CASE NUMBER:
LA Alliance for Human Rights, et al.,
                                                                                                  2:20-cv-02291-DOC
                                                      PLAINTIFF(S),
                                  v.
City of Los Angeles, et al.,                                                              NOTICE OF APPEAL
                                                  DEFENDANT(S).



NOTICE IS HEREBY GIVEN that                                     the City of Los Angeles                          hereby appeals to
                                                                    Name of Appellant
the United States Court of Appeals for the Ninth Circuit from:

 Criminal Matter                                                         Civil Matter
 G Conviction only [F.R.Cr.P. 32(j)(1)(A)]                               ✘ Order (specify):
                                                                         G
 G Conviction and Sentence
                                                                            Order Granting Preliminary Injunction
 G Sentence Only (18 U.S.C. 3742)
 G Pursuant to F.R.Cr.P. 32(j)(2)                                        G Judgment (specify):
 G Interlocutory Appeals
 G Sentence imposed:
                                                                         G Other (specify):

 G Bail status:


                    04/20/2021
                                                                                                           04/20/2021 and 04/22/2021
Imposed or Filed on clarified 04/22/2021                 . Entered on the docket in this action on                                           .

A copy of said judgment or order is attached hereto.


04/23/2021                                                             SCOTT MARCUS
Date                                                     Signature
                                                         G Appellant/ProSe          ✘ Counsel for Appellant
                                                                                    G                                 G Deputy Clerk

Note:     The Notice of Appeal shall contain the names of all parties to the judgment or order and the names and addresses of the
          attorneys for each party. Also, if not electronically filed in a criminal case, the Clerk shall be furnished a sufficient number
          of copies of the Notice of Appeal to permit prompt compliance with the service requirements of FRAP 3(d).



A-2 (01/07)                                                  NOTICE OF APPEAL
